Case 2:05-cr-20251-SH|\/| Document 33 Filed 07/21/05 Page 1 of 2 Page|D 38

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UNITED STATES OF AMERICA,

v. No. 05-20251-Ma

W.C. Wooten,

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Defendant.

 

ORDER AMENDINC CONDITIONS OF RELEASE

 

The Order Setting Conditions of Release ("Order") entered July
8, 2005, is amended as follows:

Defendant shall execute an unsecured bond in the amount

of $2,5000 or an agreement to forfeit upon failure to

appear as required,

All other conditions of defendant's pretrial release contained
in the Order shall remain in effect.

IT IS SO ORDERED this 21st day of July, 2005.

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

This dect.ment entered on the docket sheet ln compliance
with Fhl!e 55 and/or 32Ib) FRCrP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

